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                   Exhibit E
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From: Kimberly Oelman <kfdonnan@gmail.com>
Date: May 16, 2014 at 11:34:21 AM PDT
To: Nicolas Goureau <nicolas@courageb.com>
Cc: Stephanie Menkin <stephanie@courageb.com>
Subject: Re: Call

Thanks guys for taking the time to express your concerns about the agreement.
Just to confirm here is what I am going to speak with Andy at the network about:

1. your ability to promote your involvement in the show AFTER a promo or
announcement about your participation has been made and before the airing of
your episode.
2. Fopps and the fact that is owned by a different company than Gooberry and
how this affects our ability to shoot there/include this store as part of the
COURAGE B storyline.
3. request language be added into the business agreement that forbids us airing
any discussion about the settlement with your mother's ex-husband (WAITING
ON LANGUAGE FROM YOU).

Thanks and let me know if you have anything additional.
                                        1
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On May 16, 2014, at 8:45 AM, Nicolas Goureau wrote:


      Ok lets do 10am your time. We are ready for you.

      Nicolas

      On May 16, 2014, at 11:38 AM, Kimberly Oelman wrote:


             Of course
             My avails are between 10am PT and 11:30am PT
             and after 3:30PT


             Let me know what works!


             Kimberly Donnan
             Supervising Producer
             The Profit / CNBC
             kfdonnan@gmail.com
             310-386-4096


                    On May 16, 2014, at 6:18 AM,
                    Nicolas Goureau
                    <nicolas@courageb.com> wrote:


                    Kim,


                    Can we have a call today?


                    Sent from my iPhone



Kimberly Donnan
Supervising Producer
THE PROFIT / CNBC
310-386-4096 (cell)
kfdonnan@gmail.com




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